      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 1 of 19



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ZURICH AMERICAN INSURANCE COMPANY )
and AMERICAN GUARANTEE AND        )
LIABILITY INSURANCE COMPANY,      )
                                  )
                Plaintiffs,       )
                                  )
      vs                          )                        Civil Action No. 19-998
                                  )                        Judge Fischer
                                  )                        Magistrate Judge Dodge
CENTURY STEEL ERECTORS CO., L.P., )
                                  )
                Defendant.        )


                           REPORT AND RECOMMENDATION

I.     Recommendation

       It is respectfully recommended that defendant’s motion to dismiss (ECF No. 10) be

denied and that plaintiffs’ motion for summary judgment (ECF No. 21) be granted.

II.    Report

       In this action, Plaintiffs Zurich American Insurance Company (“ZAIC”) and American

Guarantee and Liability Insurance Company (“AGLIC”) (sometimes collectively referred to as

“Plaintiffs”) seek a declaratory judgment that they have no duty to defend or indemnify their

insured, Defendant Century Steel Erectors Company, L.P. (“Century Steel”) with respect to third

party claims brought against it in an action filed by California University of Pennsylvania (the

“University”) in the Court of Common Pleas of Washington County, Pennsylvania (“the

Underlying Action”).

       Century Steel is the first named insured under a commercial general liability insurance

policy issued by ZAIC and a commercial umbrella liability insurance policy issued by AGLIC.

ZAIC is currently defending Century Steel in the Underlying Action under a reservation of
        Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 2 of 19



rights.

             A. Relevant Procedural History

          The University commenced the Underlying Action in August 2018. That action relates to

an incident that occurred on August 26, 2016, when a large section of concrete broke from the

second level of a parking garage on campus and crashed to the ground. The University brought

claims against the contractor who constructed the garage, Manheim Corporation (“Manheim”).

Manheim subsequently joined Shockey Brothers, Inc., t/b/d/a Shockey Precast Group

(“Shockey”), the supplier of the concrete, as an additional defendant.

          Shockey then joined Century Steel and other additional defendants by writ and later filed

a Complaint to Join Additional Defendants in February 2019 (the “Complaint to Join” or “J.

Compl.”). Shockey alleges two causes of action against Century Steel in the Complaint to Join:

negligence (Count III) and breach of contract (Count IV). The Underlying Action remains

pending at this time.

          The instant action was commenced by Plaintiffs against Century Steel in August 2019

based upon diversity jurisdiction. (Compl. ¶¶ 4-15.) 1 Counts I and III of Plaintiffs’ Complaint

seek declaratory judgments that ZAIC and AGLIC, respectively, have no duty to defend or

indemnify Century Steel in the Underlying Action. In Count II, ZAIC seeks reimbursement of

the defense costs it has incurred in the Underlying Action.

          Century Steel moved to dismiss the Complaint in September 2019 (ECF No. 10). In

November 2019, Plaintiffs moved for summary judgment. (ECF No. 21). Both motions have

been fully briefed (ECF Nos. 25, 26). Because both motions raise and address the same issues,

both can be resolved at this time.



1
    ECF No. 1.
                                                  2
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 3 of 19



           B. Relevant Factual Background

                   1. Basis of the Underlying Action

       The underlying facts in this case are uncontroverted. 2 The University entered into a

contract with Manheim to construct a parking garage on campus using structural precast concrete

supplied by Shockey. (Plaintiffs’ Concise Statement of Material Facts) (“PCSMF”) ¶ 1; Pls.’

App. Ex. A.) 3 In its Complaint to Join, Shockey alleges that it entered into a subcontract with

Century Steel on September 24, 2009 for the installation of 477 precast concrete structural and

architectural precast pieces to form the parking structure of the garage, including the installation

of double tee flange-to-flange connection devices known as MB Erector Connectors. (J. Compl.

¶ 39.) 4 Century Steel’s work under the subcontract was limited to “unload[ing] and erect[ing] the

precast members.” As noted in Century Steel’s written proposal, its work “excludes the

furnishing of all pre-cast members, shims, connection material and accessories.” (PCSMF ¶¶ 5-

7.)

       Shockey alleges that Century Steel owed a duty to the University and to Shockey to

“perform the erection and installation of 477 precast concrete structural and architectural precast

pieces for the parking structure and to install the MB Erector Connectors in a workmanlike

manner and in accordance with the plans, specifications and drawings for the Project, and to

perform welds in accordance with American Welding Society requirements and pursuant to

product specifications for the MB Erector Connectors.” (PCSMF ¶ 4.)

       Shockey asserts claims of negligence and breach of contract against Century Steel in the

Underlying Action. It claims that Century Steel’s work under the subcontract was faulty in


2
  Plaintiffs filed a Concise Statement of Material Facts in support of their motion for summary
judgment to which Defendant did not respond.
3
  ECF Nos. 23, 21.
4
  Pls.’ App. (ECF No. 21) Ex. B.
                                                 3
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 4 of 19



various respects and that in performing its work, Century Steel breached the subcontract and

deviated from contractual and industry specifications. Specifically, Shockey alleges in the

Underlying Action that Century Steel was both in breach of the subcontract and that its work was

negligent in the following identical respects:

            • In failing to properly install the double tee members;

            • In failing to perform its work according to the contract documents, as well
               as the American Welding Society requirements for welds and in
               conformance with industry standards;

            • In failing to perform welds according to the contract documents;

            • In performing inadequately sized welds on MB Erector Connectors
               throughout the garage; and

            • In failing to place adjacent double tees in proximity to one another in
               accordance with the contract documents for the Project.

(PCSMF ¶ 8.)

       Shockey avers that Century Steel’s breach of the subcontract and negligence were “a

direct and proximate cause of cracking of the double tee flanges and the August 26, 2016

collapse of a 20’ long x 2’ wide piece of concrete on the second level of the garage as described

in Plaintiff’s Complaint.” (PCSMF ¶ 9.) Shockey seeks recovery from Century Steel on its

negligence and breach of contract claims in the event that the University is entitled to recover

against Shockey. (Id. ¶ 10.)

       The University’s losses and damages as a result of this incident are described in its

Complaint as follows:

           •   The collapse of the Garage has had, and continues to have, serious
               financial impacts on the University.

           •   First, the University will incur significant repair costs to remediate the
               deficiencies in Manheim’s work and make the Garage safe for use.


                                                 4
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 5 of 19



           •   In addition to repair costs, the University has also suffered damages from
               the loss of use of the Garage, including lost revenue.

           •   Additionally, the University has incurred expenses to provide alternative
               parking arrangements and operate additional shuttle bus services to
               transport students and faculty to and from other parking facilities.

           •   The University has also incurred significant legal and engineering
               expenses attributable to the collapse, in addition to substantial expenditure
               of staffing resources in response to the collapse.

(PCSMF ¶ 11.) Although Century Steel claims that the collapse of the parking garage crushed

several parked cars, neither the University’s Complaint nor the Complaint to Join includes a

claim for damage to these vehicles. (Id. ¶¶ 11-12.)

                   2. Relevant Policy Terms

        Century Steel is the first Named Insured under a commercial general liability insurance

policy issued by ZAIC, No. GLO 3866009-13 (the “ZAIC Policy”), and a commercial

umbrella liability insurance policy issued by AGLIC, No. AUC 9375600-13 (the “AGLIC XS

Policy”). (PCSMF ¶ 13.) Both policies were in effect from July 23, 2016 to July 23, 2017.

(Id.) The ZAIC Policy and the AGLIC XS Policy (collectively, the “Policies”) were

negotiated, produced, and delivered in Pennsylvania through Century Steel’s authorized agent

and insurance broker, Wells Fargo Insurance Services USA, Inc. (Id. ¶ 14.)

        The ZAIC Policy provides occurrence-based commercial general liability coverage

with a limit of $2 million per occurrence. It affords a defense and indemnity, subject to that

limit, for “property damage” caused by an “occurrence” where such “property damage” occurs

during the policy period, consistent with the following Coverage A (Bodily Injury and

Property Damage Liability) insuring agreement:




                                                5
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 6 of 19



            SECTION I - COVERAGES

            COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
            LIABILITY

            1. Insuring Agreement

            a. We will pay those sums that the insured becomes legally obligated to
            pay as damages because of “bodily injury” or “property damage” to which
            this insurance applies. We will have the right and duty to defend the
            insured against any “suit” seeking those damages. However, we will have
            no duty to defend the insured against any “suit” seeking damages for
            “bodily injury” or “property damage” to which this insurance does not
            apply. ...
            ...
            b. This insurance applies to “bodily injury” and “property damage” only if:

                (1)     The “bodily injury” or “property damage” is caused by
                        an “occurrence” that takes place in the “coverage
                        territory”;

                (2)     The “bodily injury” or “property damage” occurs during the
                        policy period…

 (PCSMF ¶16.) The term “occurrence” within Coverage A of the ZAIC Policy is defined as

 follows: “‘Occurrence’ means an accident, including continuous or repeated exposure to

 substantially the same or general harmful conditions.” (Id. ¶17.)

       The ZAIC Policy includes a “Pennsylvania Changes – Defense Costs Endorsement,”

which reads, in relevant part, as follows:

       If we initially defend an insured (“insured”) or pay for an insured’s (“insured’s”)
       defense but later determine that none of the claims (“claims”), for which we
       provided a defense or defense costs, are covered under this insurance, we have the
       right to reimbursement for the defense costs we have incurred.

       The right to reimbursement under this provision will only apply to the costs we
       have incurred after we notify you in writing that there may not be coverage and
       that we are reserving our rights to terminate the defense or the payment of defense
       costs and to seek reimbursement for defense costs.




                                                6
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 7 of 19



(PCSMF ¶ 18.) The right to reimbursement for the defense costs ZAIC has incurred on behalf

of an insured applies to defense costs relative to a “suit” which are advanced under reservation

of rights pursuant to Coverage A of the ZAIC Policy. (Id. ¶19.)

       The AGLIC XS Policy affords follow form excess liability coverage and umbrella

liability coverage with a limit of $10 million per occurrence in accordance with the following

insuring agreement:

           SECTION I. COVERAGE

           A. Coverage A - Excess Follow Form Liability Insurance

           Under Coverage A, we will pay on behalf of the insured those damages
           covered by this insurance in excess of the total applicable limits of
           underlying insurance. With respect to Coverage A, this policy includes:

           1.    The terms and conditions of underlying insurance to the extent such
                terms and conditions are not inconsistent or do not conflict with the
                terms and conditions referred to in Paragraph 2. below; and

           2.   The terms and conditions that apply to Coverage A of this policy.

           Notwithstanding anything to the contrary contained above, if underlying
           insurance does not apply to damages, for reasons other than exhaustion of
           applicable Limits of Insurance by payment of loss, then Coverage A does
           not apply to such damages. Also, Coverage A does not apply to any form of
           casualty business crisis expense insurance even if such insurance is afforded
           under underlying insurance or would have been afforded except for the
           exhaustion of the Limits of Insurance of underlying insurance.

           B. Coverage B - Umbrella Liability Insurance

           Under Coverage B, we will pay on behalf of the insured those damages the
           insured becomes legally obligated to pay by reason of liability:

            1. Imposed by law because of bodily injury, property damage, or
               personal and advertising injury; or

            2. Assumed under an insured contract because of bodily injury or
               property damage;

       covered by this insurance but only if the injury, damage or offense arises out of
       your business, takes place during the policy period of this policy and is caused
                                                7
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 8 of 19



       by an occurrence happening anywhere. We will pay such damages in excess of
       the Retained Limit specified in Item 5. of the Declarations or the amount
       payable by other insurance, whichever is greater.

       Coverage B does not apply to any loss, claim or suit for which insurance is
       afforded under underlying insurance or would have been afforded except for
       the exhaustion of the Limits of Insurance of underlying insurance.

(PCSMF ¶20.)

       For purposes of excess liability coverage, the term “occurrence” is defined by the

underlying ZAIC Policy. (PCSMF ¶21.) With respect to umbrella coverage, the term

“occurrence” is defined as: “With respect to bodily injury or property damage liability, an

accident, including continuous or repeated exposure to substantially the same general harmful

conditions.” (Id. ¶ 22.)

       On May 17, 2019, ZAIC agreed to defend Century Steel in the Underlying Action under

a full reservation of rights. (PCSMF ¶ 24.) Century Steel elected to retain counsel of its choosing

to defend its interests in the Underlying Action. (Id. ¶25.) ZAIC has paid all defense costs

incurred by Century Steel in the Underlying Action, subject to the terms of its reservation of

rights. (Id. ¶ 26.) In its reservation of rights, ZAIC expressly reserved its rights to withdraw from

the defense, disclaim any indemnity obligation, and recover defense costs advanced on behalf of

Century Steel. Its basis, among other things, was that because Shockey’s claims are premised on

breach of contract and faulty workmanship, including instances where faulty workmanship

results in foreseeable damage to property other than the insured’s work, they are not an

“occurrence” under prevailing law and, thus, do not trigger a duty to defend or indemnify under

the Zurich Policies. (Id. ¶ 27.)




                                                 8
      Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 9 of 19



           C. Analysis

                1. Standard of Review 5

       Pursuant to the Federal Rules of Civil Procedure, summary judgment is appropriate if

there are no genuine disputes as to any material fact and the moving party is entitled to judgment

as a matter of law. Fed.R.Civ.P. 56(a). Summary judgment may be granted against a party who

fails to adduce facts sufficient to establish the existence of any element essential to that party’s

case, and for which that party will bear the burden of proof at trial. Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986). The moving party bears the initial burden of identifying evidence which

demonstrates the absence of a genuine issue of material fact. Once that burden has been met, the

non-moving party must set forth “specific facts showing that there is a genuine issue for trial” or

the factual record will be taken as presented by the moving party and judgment will be entered as

a matter of law. Matsushita Elec. Indus. Corp. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

An issue is genuine only if the evidence is such that a reasonable jury could return a verdict for

the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court of

Appeals has held that “where the movant bears the burden of proof at trial and the motion does

not establish the absence of a genuine factual issue, the district court should deny summary

judgment even if no opposing evidentiary matter is presented.” National State Bank v. Federal

Reserve Bank, 979 F.2d 1579, 1582 (3d Cir. 1992).

       In following this directive, a court must take the facts in the light most favorable to the

non-moving party and must draw all reasonable inferences and resolve all doubts in that party’s

favor. Hugh v. Butler County Family YMCA, 418 F.3d 265, 266 (3d Cir. 2005); Doe v. County of



5
  For the reasons explained below, it is recommended that Plaintiffs’ motion for summary
judgment should be granted. As a result, it is not necessary for the Court to utilize the standard of
review for Defendant’s motion to dismiss.
                                                 9
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 10 of 19



Centre, Pa., 242 F.3d 437, 446 (3d Cir. 2001).When a court is presented with cross-motions for

summary judgment, each movant must show that no genuine issue of material fact exists; if both

parties fail to carry their respective burdens, the court must deny the motions. Facenda v. N.F.L.

Films, Inc., 542 F.3d 1007, 1023 (3d Cir. 2008).

       “A federal court sitting in diversity must apply state substantive law and federal

procedural law.” Chamberlain v. Giampapa, 210 F.3d 154, 158 (3d Cir. 2000) (citation omitted).

The parties do not dispute that the Policies at issue must be interpreted under Pennsylvania law.

Under Pennsylvania law, the insured has the burden of proving facts that bring its claim within

the policy’s coverage. Koppers Co., Inc. v. Aetna Cas. & Surety Co., 98 F.3d 1440, 1447 (3d Cir.

1996). “By contrast, the insurer bears the burden of proving the applicability of any exclusions or

limitations on coverage, since disclaiming coverage on the basis of an exclusion is an affirmative

defense.” Id. (citations omitted).

       The Pennsylvania Supreme Court has held that “the interpretation of an insurance

contract regarding the existence or non-existence of coverage is ‘generally performed by the

court.’” Donegal Mut. Ins. Co. v. Baumhammers, 938 A.2d 286, 290 (Pa. 2007) (quoting

Minnesota Fire & Cas. Co. v. Greenfield, 855 A.2d 854, 861 (Pa. 2004)). When the language is

unambiguous, a court must give effect to its language; if a provision is ambiguous, however, “the

policy is to be construed in favor of the insured to further the contract’s prime purpose of

indemnification and against the insurer, as the insurer drafts the policy and controls coverage.”

Id. (quoting Kvaerner Metals Div. of Kvaerner U.S., Inc. v. Commercial Union Ins. Co., 908

A.2d 888, 897 (Pa. 2006)). In this case, none of the parties contend that the insurance contracts

at issue are ambiguous.




                                                10
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 11 of 19



                2. Analysis of Policy Language

       Plaintiffs seek declaratory judgments that they do not have a duty to defend or indemnity

Century Steel in connection with the Underlying Action. As the Third Circuit Court of Appeals

recently summarized:

       in the context of a declaratory judgment action to determine an insurer’s
       obligations, Pennsylvania courts consistently apply what is known as the “four-
       corners rule.” See Lupu v. Loan City LLC, 903 F.3d 382, 389–90 (3d Cir. 2018)
       (collecting cases). That is, when a policyholder is sued, “an insurer’s duty to
       defend is triggered, if at all, by the factual averments contained in [the
       underlying] complaint[.]” Kvaerner, 908 A.2d at 896; Am. & Foreign Ins. Co. v.
       Jerry’s Sport Ctr., Inc., 606 Pa. 584, 2 A.3d 526, 541 (2010); Mut. Ben. Ins. Co.
       v. Haver, 555 Pa. 534, 725 A.2d 743, 745-46 (1999) (“A carrier’s duties to defend
       and indemnify an insured in a suit brought by a third party depend upon a
       determination of whether the third party’s complaint triggers coverage.”);
       Ramara, Inc. v. Westfield Ins. Co., 814 F.3d 660, 673 (3d Cir. 2016).

Sapa Extrusions, Inc. v. Liberty Mut. Ins. Co., 939 F.3d 243, 249–50 (3d Cir. 2019). See also

Kiely ex rel. Feinstein v. Phila. Contributionship Ins. Co., 206 A.3d 1140, 1146 (Pa. Super.

2019) (“The question of whether a claim against an insured is potentially covered is answered by

comparing the four corners of the insurance contract to the four corners of the complaint.”)

Further, “because the duty to defend is ‘broader’ than the duty to indemnify, if a court

determines that the former does not exist, neither does the latter.” Sapa, 939 F.3d at 250. 6

       Among other things, the ZAIC policy imposes a duty to defend the insured against a suit,

and to pay those sums that the insured becomes legally obligated to pay as damages, in which

“property damage” is caused by an “occurrence.” An “occurrence” under both Policies means

“an accident, including continuous or repeated exposure to substantially the same or general

harmful conditions.” Century Steel claims that it has sustained a loss that is covered by the



6
   Because the duty to defend is determined by the court based on the four corners of the
complaint, Century Steel’s argument that the issue cannot be decided until the Underlying Action
is resolved (ECF No. 25 at 3, 6) is unavailing.
                                                 11
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 12 of 19



Policies or that, at a minimum, ZAIC has a duty to defend it in the Underlying Action because

the claim potentially could fall within the Policies’ coverage. Thus, pivotal to the resolution of

the current dispute is whether the allegations against Century Steel in the Underlying Action

represent an occurrence that triggers a duty to defend and/or indemnify Century Steel. This first

requires an analysis of the relevant policy terms.

       The Pennsylvania Supreme Court’s decision in Kvaerner Metals Div. of Kvaerner U.S.,

Inc. v. Commercial Union Ins. Co., 908 A.2d 888, 897 (Pa. 2006), is instructive. In that case,

after Kvaerner was sued by Bethlehem Steel for faulty construction of a coke oven battery, it

sought coverage from its insurer, National Union, under two commercial general liability

policies. Both policies have the same definition of “occurrence” as the Policies in this case. 908

A.2d at 897. As noted by the Pennsylvania Supreme Court: “The key term in the ordinary

definition of ‘accident’ is ‘unexpected.’ This implies a degree of fortuity that is not present in a

claim for faulty workmanship.” Id. at 898. The court then concluded that:

       We hold that the definition of “accident” required to establish an “occurrence”
       under the policies cannot be satisfied by claims based upon faulty workmanship.
       Such claims simply do not present the degree of fortuity contemplated by the
       ordinary definition of “accident” or its common judicial construction in this
       context. To hold otherwise would be to convert a policy for insurance into a
       performance bond. We are unwilling to do so, especially since such protections
       are already readily available for the protection of contractors.

Id. at 899 (footnotes omitted). See also Millers Capital Ins. Co. v. Gambone Bros. Dev. Co., 941

A.2d 706 (Pa. Super. 2007), appeal denied, 963 A.2d 471 (Pa. 2008) (water damage that resulted

from subcontractor’s faulty work in installing windows and a stucco exterior for a housing

development was not an “occurrence”).

       The Third Circuit Court of Appeals and district courts within the Third Circuit have

applied this reasoning to exclude faulty workmanship and breach of contract claims from the



                                                 12
        Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 13 of 19



definition of an occurrence. See, e.g., Acuity, a Mutual Ins. Co. v. Knisley & Sons, Inc., 2016 WL

4223757 (W.D. Pa. Aug. 9, 2016) (failure to properly service a boiler did not constitute an

occurrence); Zurich Am. Ins. Co. v. R.M. Shoemaker Co., 2013 WL 1224104 (3d Cir. March 27,

2013) (neither faulty workmanship by a subcontractor nor foreseeable acts constitute an

“occurrence”); Specialty Surfaces Int’l, Inc. v. Continental Cas. Co., 609 F.3d 223 (3d Cir. 2010)

(faulty workmanship, even when cast as a negligence claim, does not constitute an occurrence);

Nationwide Mut. Ins. Co. v. CPB Int’l, Inc., 562 F.3d 591, 596-97 (3d Cir. 2009) (failure to

utilize proper quality control in evaluating the composition of a nutritional supplement was not

an “accident” under an occurrence-based policy).

          In the recent decision of Sapa Extrusions, Inc. v. Liberty Mut. Ins. Co., 939 F.3d 243 (3d

Cir. 2019), the Third Circuit Court of Appeals reviewed the law relevant to this issue. In that

case, Sapa Extrusions, a manufacturer of extruded aluminum profiles used in aluminum-clad

windows and doors, sought insurance coverage when it was sued by Marvin, the company to

which it supplied these profiles, after customers complained that the aluminum parts of the doors

and windows would oxidize or corrode. Sapa was insured under a number of different insurance

policies, nineteen of which had the same definition of “occurrence” as the policy in Kvaerner. Id.

at 252-53. 7

          With respect to these nineteen policies, the Court of Appeals held that the factual

allegations in the complaint did not amount to an “occurrence” that would trigger coverage

because the complaint alleged faulty workmanship and there was no unforeseeable, fortuitous

event. “Put simply, it was ‘largely within [Sapa’s] control whether it supplie[d] the agreed-upon

product,’ so any liability flowing from Sapa’s failure to deliver a product that met the agreed



7
    The Court’s analysis of the remaining policies is not relevant to the issues in this case.
                                                    13
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 14 of 19



specifications was ‘too foreseeable to be considered an accident.’” Id. at 256. Although Sapa

argued that the situation was distinguishable because third-party property damage occurred, the

Court of Appeals rejected this argument, stating:

       CPB and Specialty Surfaces both hold that any distinction between damage to the
       work product alone versus damage to other property is irrelevant so long as both
       foreseeably flow from faulty workmanship. See CPB, 562 F.3d at 597; Specialty
       Surfaces, 609 F.3d at 238-39. Sapa’s briefing is silent on these cases. The bottom
       line is this: it was “certainly foreseeable that the product [Sapa] sold would be
       used for the purpose for which it was sold.” CPB, 562 F.3d at 597. Marvin
       integrated Sapa’s extrusions with its own products, and the eventual damage thus
       foreseeably exceeded the value of the extrusions themselves. We explained in
       CPB that “foreseeable acts which tend to exacerbate the damage, effect, or
       consequences caused ab initio by faulty workmanship also cannot be considered
       sufficiently fortuitous to constitute an ‘occurrence’ or ‘accident’ for the purposes
       of an occurrence-based CGL policy.” 562 F.3d at 597 (citation omitted).

Id. (footnote omitted).

                3.   Claims Asserted Against Century Steel in Underlying Action

       As discussed previously, Shockey asserts claims for negligence and breach of contract

against Century Steel in the Underlying Action. Both claims arise from Century Steel’s

agreement to erect and install precast concrete pieces in the University’s parking garage. In both

causes of action, Shockey alleges identical wrongdoing on the part of Century Steel:

            • Failing to properly install the double tee members;

            •   Failing to perform its work according to the contract documents, as well
                as the American Welding Society requirements for welds and in
                conformance with industry standards;

            • Failing to perform welds according to the contract documents;

            • Performing inadequately sized welds on MB Erector Connectors
              throughout the garage; and

            • Failing to place adjacent double tees in proximity to one another in
              accordance with the contract documents for the Project.

According to Shockey’s Complaint to Join, Century Steel’s faulty workmanship and/or breach of

                                               14
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 15 of 19



contract led to the collapse of a section of concrete on the second level of the garage. The

University claims that it sustained the following damages due to the collapse of the concrete

installed by Century Steel: repair costs to the garage; loss of use and revenue from the garage;

expenses associated with providing alternative parking arrangements; and legal and engineering

expenses and staffing resources. Shockey seeks contribution and/or indemnity for any damages

recovered by the University and/or Manheim against Shockey and asserts that Century Steel is

solely liable to them.

       As outlined above, claims based upon breach of contract and faulty workmanship are not

fortuitous, and thus, do not fall within the definition of “occurrence” as set forth in the Policies.

Century Steel argues, however, that a review of the four corners of the Complaint to Join

compels the conclusion that its allegations trigger, at a minimum, a duty to defend. It notes that

even if the parking garage collapse is not found to be an occurrence once the Underlying Action

is litigated on the merits, the duty to defend remains until a factfinder in that action makes that

determination. Century Steel notes that where a complaint asserts multiple causes of action, and

one of them constitutes a claim within the scope of the policy’s coverage, the insurer has a duty

to defend until and unless it can confine the claim to a recovery that is excluded from the scope

of the policy. Indalex, Inc. v. National Union Fire Ins. Co. of Pittsburgh, 83 A.3d 418 (Pa.

Super. 2013), appeal denied, 99 A.3d 926 (Pa. 2014). Further, as Century Steel correctly states,

in determining the duty to defend, the factual allegations of the complaint are “liberally

construed in favor of the insured.” Frog, Switch & Mfg. Co. v. Travelers Ins. Co., 193 F.3d 742,

746 (3d Cir. 1999).

       The Complaint to Join alleges that Century Steel’s negligence caused the garage’s

collapse and the University’s damages include property, products and work that were not the



                                                 15
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 16 of 19



property, products or work of Century Steel. 8 Citing Kvaerner, Century Steel argues that while

faulty workmanship is not an “occurrence” when it only results in damage to the workmanship

itself, commercial general liability insurance policies are meant to provide coverage when the

insured’s work causes damage to property other than to property on which it worked. See Pa.

Mfrs. Indemnity Co. v. Pottstown Indus. Complex, L.P., 215 A.3d 1010, 1015 (Pa. Super. 2019),

cited by Century Steel. Thus, it contends, because the collapse of the garage caused damage

beyond what Century Steel installed, including other parts of the garage and several parked cars,

this represents an occurrence as defined by the Policies and triggers a duty to defend. 9

       As Plaintiffs note, however, in Pottstown, the Pennsylvania Superior Court held that an

occurrence-based policy does not afford coverage when an insured’s faulty workmanship

damaged the insured’s product or “the project on which the insured worked.” 215 A.3d at 1016.

Moreover, although the flood in Pottstown constituted an unforeseeable, fortuitous event that

caused damage to the tenant’s inventory after the landlord failed to properly repair the roof, the

Underlying Complaint in this case alleges that the garage collapsed because of faulty

workmanship, including that of Century Steel. The collapse of the garage was not an

unforeseeable, fortuitous event unconnected to the actions of Century Steel; it was directly the

result of Century Steel’s faulty workmanship.

       Century Steel argues that:

       In light of Indalex, insurers should no longer ask courts in declaratory judgment
       actions to examine the underlying complaint to determine if certain negligence-
       based causes of action were improperly alleged or otherwise violative of case law


8
  As Plaintiffs note, however, the Complaint to Join can only recover from Century Steel those
damages that Shockey would be required to pay to the University as alleged in the Underlying
Complaint, that is, damages for the partial collapse and resulting loss of the use of the parking
garage, as well as the consequential economic losses resulting therefrom.
9
  Contrary to this assertion, the University does not seek damages relating to parked cars, only
for repairs to the garage and consequential economic losses arising therefrom.
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     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 17 of 19



       and should be dismissed. So long as there is potential liability in the underlying
       complaint, the insurer has a duty to defend. Id., at 426. Here, since negligence is
       alleged, it would be improper under Indalex for ZAIC not to defend Century
       Steel.

(ECF No. 11 at 6-7.) However, as explained above, the Court of Appeals for the Third Circuit

has held that the issue is not whether the underlying complaint alleges a claim in negligence or

breach of contract, but whether the loss is “reasonably foreseeable” and that, particularly in the

case of an insured that is responsible for a component part of a project that is alleged to have

failed and damaged other parts of the project, “foreseeable acts which tend to exacerbate the

damage, effect, or consequences caused ab initio by faulty workmanship also cannot be

considered sufficiently fortuitous to constitute an ‘occurrence’ or ‘accident’ for the purposes of

an occurrence-based CGL policy.” Sapa, 939 F.3d at 256. 10

       Century Steel is alleged to have improperly installed structural and architectural

components of the parking garage, including failing to properly install the double tee members,

failing to place them in proximity to each other and performing inadequately sized welds. These

deficiencies are also described as the failure to perform this work in accordance with the contract

documents. Simply put, Century Steel’s workmanship is alleged to have been faulty and in

breach of the subcontract. Thus, even under a liberal reading of the Complaint to Join, the factual

allegations do not represent a fortuitous event, even when cast as negligence. See, e.g., Kvaerner,

908 A.2d at 899; Specialty Surfaces, 609 F.3d at 231; CPB Int’l, 562 F.3d at 596-97.

       Moreover, the damages sought by the University, for which Shockey claims that Century

Steel is solely liable, are limited to damage to the garage itself, the project on which Century

Steel worked, and economic damages. Consequential damages are reasonably foreseeable.



10
  The Court of Appeals also noted that the Indalex case involved a different definition of
“occurrence” than the language in Kvaerner and therefore led to a different result. Id. at 258.
                                                17
     Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 18 of 19



AM/PM Franchise Ass’n v. Atlantic Richfield, 584 A.2d 915, 920-21 (Pa. 1990). It is reasonably

foreseeable that faulty workmanship on structural concrete could result in a partial collapse of

the garage. Id. See also Sapa, 939 F.3d at 255-26; Gambone Brothers, 941 A.2d at 713-14.

       Thus, the facts pleaded in the four corners of the Complaint to Join do not amount to an

“occurrence” under the Zurich Policies and do not trigger a duty to defend Century Steel in the

Underlying Action.

       Century Steel argues that Plaintiffs have admitted the possibility that coverage exists by

agreeing to provide a defense in the Underlying Action. As Plaintiffs note, however, by

defending Century Steel under a reservation of rights and then commencing this action, they

have responded in a manner that is entirely consistent with the instructions of the Pennsylvania

Supreme Court: “if the insurer is uncertain about coverage, then it should provide a defense and

seek declaratory judgment about coverage.” American & Foreign Ins. Co. v. Jerry’s Sport Ctr.,

Inc., 2 A.3d 526, 542 (Pa. 2010). “If the insurer is successful in the declaratory judgment action,

it is relieved of the continuing obligation to defend.” Id. As such, Plaintiffs’ agreement to

provide a defense in the Underlying Action under a reservation of rights and subsequently

seeking a determination from the Court regarding their rights and duties do not represent an

admission that they have a contractual obligation to defend and/or indemnify Century Steel.

       Because Plaintiffs have no duty to defend Century Steel, there is no corresponding duty

to provide indemnity in the event that Century Steel is found to be liable in the Underlying

Action. Therefore, both Plaintiffs are entitled to a declaratory judgment as a matter of law.

               4. Reimbursement of Defense Costs

       Finally, ZAIC seeks reimbursement of defense costs that have been expended to date in

the Underlying Action. Under Pennsylvania law, “an insurer is not entitled to be reimbursed for



                                                18
       Case 2:19-cv-00998-NBF-PLD Document 27 Filed 04/14/20 Page 19 of 19



defense costs absent an express provision in the written insurance contract.” American &

Foreign Ins., 2 A.3d at 529. This is only the case, however, “[w]here the insurance contract is

silent about the insurer’s right to reimbursement of defense costs.” Id. at 544. When the policy

expressly provides for it, reimbursement is permitted. See CAMICO Mut. Ins. Co. v. Heffler,

Radetich & Saitta, L.L.P., 587 F. App’x 726, 731 (3d Cir. Oct. 10, 2014).

        In this case, the ZAIC Policy explicitly provides for a right to reimbursement of defense

costs if it is determined that coverage is not available under the Policy. As there is no coverage

under its policy, ZAIC is entitled to recover the costs it has expended to defend Century Steel in

the Underlying Action.

III.    Conclusion

        For the reasons cited above, it is respectfully recommended that Century Steel’s motion

to dismiss (ECF No. 10) be denied and that Plaintiffs’ motion for summary judgment (ECF No.

21) be granted.

        Litigants who seek to challenge this Report and Recommendation must seek review by

the district judge by filing objections by April 28, 2020. Any party opposing the objections shall

file a response by May 12, 2020. Failure to file timely objections will waive the right of appeal.



Dated: April 14, 2020                                ____________________________
                                                     PATRICIA L. DODGE
                                                     United States Magistrate Judge




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